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 6
     Attorney for Plaintiff
     Mohamed S. Adan
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 8
                              UNITED STATES DISTRICT COURT
 9
                        SOUTHERN DISTRICT OF CALIFORNIA
10

11   MOHAMED S. ADAN, individually          Case No.: 3:17-cv-1150 WQH-JLB
     and on behalf of the proposed class,
12
                        Plaintiff,
13                                          JOINT MOTION AND
                v.                          STIPULATION FOR DISMISSAL
14                                          WITH PREJUDICE
     U.S. SECURITY ASSOCIATES,
15
     INC., a foreign corporation doing
                                            Judge: Hon. William Q. Hayes
16   business in California; and DOES 1 -
                                            Courtroom: 14B
     10, inclusive,
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18                       Defendants.

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 1         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and this Court’s
 2   April 6, 2018 Order Scheduling Second Settlement Disposition Conference (ECF No.
 3   38), the Plaintiff Mohamed Adan (“Plaintiff”) and Defendant U.S. Security
 4   Associates, Inc. (“Defendant”) (collectively, the “Parties”), by and through their
 5   respective counsel of record, hereby submit this Joint Motion and Stipulation for
 6   Dismissal with Prejudice. In support, the Parties state as follows:
 7         The Parties have negotiated a Confidential Settlement Agreement and General
 8   Release that fully and finally resolves and settles all claims in this matter, and agree
 9   and stipulate that this matter be dismissed with prejudice, with each party to bear
10   his/its own respective costs and attorney fees.
11         The Parties therefore jointly move this Court for an order dismissing this matter
12   with prejudice.
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14   DATED: May 3, 2018                          DHF LAW, PC
15
                                             By: /s/ Devin H. Fok
16                                              DEVIN H. FOK
17                                              shaofok@gmail.com
                                                Counsel for Plaintiff
18                                              MOHAMED S. ADAN
19

20   DATED: May 3, 2018                          HUNTON & WILLIAMS LLP
21

22                                           By: /s/ Emily Burkhardt Vicente
                                                EMILY BURKHARDT VICENTE
23                                              ebvicente@huntonAK.com
24                                              D. ANDREW QUIGLEY
                                                aquigley@huntonAK.com
25                                              Counsel for Defendant
26                                              U.S. SECURITY ASSOCIATES, INC.
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 1                            CERTIFICATION OF CONTENT
 2        I, Devin H. Fok, hereby certify that the content of the foregoing document is
 3   acceptable to all persons required to sign, and that Defendant’s counsel granted
 4   Plaintiff’s counsel permission to file it and affix her electronic signature above.
 5

 6                                               /s/ Devin H. Fok
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                                                DEVIN H. FOK
                                                shaofok@gmail.com
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 1                              CERTIFICATE OF SERVICE
 2
           I am employed in the County of _____________, State of California. I am over
 3   the age of 18 years and not a party to this action. My business address is
 4   __________________.

 5              On ___________________, I electronically transmitted the following
 6   document(s) JOINT MOTION AND STIPULATION FOR DISMISSAL WITH
     PREJUDICE to the Clerk’s Office using the CM/ECF System for filing and
 7   transmittal of a Notice of Electronic Filing, and on the interested parties in this
 8   action:

 9
                                 Emily Burkhardt Vicente
10
                                    D. Andrew Quigley
11                             Hunton Andrews Kurth LLP
                             550 South Hope Street, Suite 2000
12
                            Los Angeles, California 90071-2627
13                              ebvicente@huntonAK.com
                                 aquigley@huntonAK.com
14

15         I declare under penalty of perjury under the laws of the State of California that
     the above is true and correct.
16

17         Executed on ______________, in ____________, California.
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                                   CERTIFICATE OF SERVICE
